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  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


  RALPH LYNN FERGUSON, JR.                       '
                                                 '
                        Plaintiff,               '
                                                 '
  v.                                             '                            NO. 1:16-CV-272
                                                 '
  ERIC MARCINE DUNN, et al.,                     '
                                                 '
                        Defendants.              '

            ORDER OVERRULING OBJECTIONS AND ADOPTING
   REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         The court referred this case to the Honorable Zack Hawthorn, United States Magistrate

  Judge, for pretrial management. The court has received and considered Judge Hawthorn’s

  report and recommendation (Doc. No. 169), which recommends granting the following motions:

            Defendant Timothy Wayne Corkern’s “12(b)(6) Motion to Dismiss” (Doc. No. 125);
            Defendant J. Keith Stanley’s “Third Motion to Dismiss” (Doc. No. 129);
            Defendants Charles Willis, Josh Beckman, Brandon Thurman, Gwen Kelley, Judge
             Connie Smith, Linda Pitts, Ashley Morrow, Robert Shane Hilton, Courtney Tracy
             Ponthier, and Judge Craig Mixson’s “Motion to Dismiss” (Doc. No. 131); and
            Defendants Pete Patrick, Angie Brown, and Parvin Butler’s (Patrick Auto Defendants)
             “Sixth Motion to Dismiss.” Doc. No. 132.

  The report also recommends granting in part and denying in part the following motion:

            Defendants Eric Dunn and Steve Holloway’s “Fourth Motion to Dismiss.” Doc. No.
             130.

         The court has also received the written objections of pro se Plaintiff Ralph Lynn

  Ferguson. Doc. No. 172. A party who files timely, written objections to a magistrate judge’s

  report and recommendation is entitled to a de novo determination of those findings or

  recommendations to which the party specifically objects. 28 U.S.C. § 636(b)(1)(C); FED. R.

  CIV. P. 72(b)(2)-(3). “Frivolous, conclusive or general objections need not be considered by the

  district court.” Nettles v. Wainwright, 677 F.2d 404, 410 n.8 (5th Cir. 1982) (en banc),
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  overruled on other grounds by Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir.

  1996) (en banc).

         Ferguson’s objections fall into four primary categories: (1) disputing the meaning and

  applicability of the Texas Transportation Code to non-commercial motorists; (2) objecting to

  Judge Hawthorn’s citations to case law that supposedly conflict with the wording of state statutes

  and the Constitution; (3) one-sentence, pro forma, general, and conclusory objections to Judge

  Hawthorn’s recommendations; and (4) objecting that qualified immunity and official immunity

  are in conflict with the Fourteenth Amendment’s Equal Protection Clause. See generally Doc.

  No. 172. A de novo review of Judge Hawthorn’s report concludes that Ferguson’s objections are

  wholly without merit. As a result, the court adopts the report and recommendation.

         It is, therefore, ORDERED that the report and recommendation of the magistrate judge

  (Doc. No. 169) is ADOPTED.

         It is further ORDERED:

         Corkern’s “12(b)(6) Motion to Dismiss” (Doc. No. 125) is GRANTED, and all of

  Ferguson’s claims against Corkern are DISMISSED with prejudice.

         Stanley’s “Third Motion to Dismiss” (Doc. No. 129) is GRANTED, and all of

  Ferguson’s claims against Stanley are DISMISSED with prejudice.

         Willis, Beckman, Thurman, Kelley, Judge Smith, Pitts, Morrow, Hilton, Ponthier, and

  Judge Mixson’s “Motion to Dismiss” (Doc. No. 131) is GRANTED, and all of the claims against

  these Defendants are DISMISSED with prejudice.

         Patrick, Brown, and Butler’s “Sixth Motion to Dismiss” (Doc. No. 132) is GRANTED,

  and all of Ferguson’s claims against these Defendants are DISMISSED with prejudice.




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        Dunn and Holloway’s “Fourth Motion to Dismiss” (Doc. No. 130) is GRANTED in part

  and DENIED in part. All of Ferguson’s claims against Holloway are DISMISSED with

  prejudice.   Ferguson’s Fourth Amendment unlawful arrest, Fourteenth Amendment due

  process, and Eighth Amendment excessive bail claims against Dunn are DISMISSED with

  prejudice. Ferguson’s Fourth Amendment unlawful seizure and Fourth Amendment unlawful

  search claims against Dunn may proceed.

        It is further ORDERED that Ferguson’s “Motion for Leave of Court to Exceed the Page

           . (Doc. No. 171) is GRANTED.
  Limitation”
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 1st day of June, 2018.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE




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